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                                       UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF NEW YORK

 LAURA TAYLOR SWAIN                                                                               Tammi M. Hellwig
   Chief Judge                                                                                       Clerk of Court



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